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             EXHIBIT 3
        to the Declaration of
           W. Somvichian


   (REDACTED VERSION OF
DOCUMENT SOUGHT TO BE FILED
        UNDER SEAL)
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                         EXHIBIT A

              FILED UNDER SEAL
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1     ** C O N F I D E N T I A L **
2     IN THE UNITED STATES DISTRICT COURT
3     NORTHERN DISTRICT OF CALIFORNIA
4     OAKLAND DIVISION
5     CASE NO. 4:21-CV-02155-YGR
6     -----------------------------------x
7
      IN RE GOOGLE RTB CONSUMER
8     PRIVACY LITIGATION
9
      -----------------------------------x
10
      This document applies to all actions
11
      -----------------------------------x
12                            October 30, 2023
                              9:02 a.m.
13
14
15            Videotaped Deposition of GLENN
16    BERNTSON, taken by Plaintiffs, pursuant to
17    Notice, held at the offices of Simmons
18    Hanly Conroy LLC, 112 Madison Avenue, New
19    York, New York, before Todd DeSimone, a
20    Registered Professional Reporter and Notary
21    Public of the State of New York.
22
23
24
25

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      ALSO PRESENT:
9         DANIELLE PIERRE, Google (Via Zoom)
10        ROBERT RUDIS, Videographer
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                                                                   09:12:57AM
4                     MR. SOMVICHIAN:        Objection,            09:13:02AM
5            beyond the scope of this topic.                       09:13:03AM
6            A.       The logs contain largely the                 09:13:06AM
7




                                                                   09:13:17AM
11                    MR. SOMVICHIAN:        Can I have a          09:13:17AM
12           standing objection here?                              09:13:18AM
13                    MR. BARNES:      This fits within            09:13:22AM
14           the context of number 5.           You can have       09:13:23AM
15           a standing objection.          It fits within         09:13:27AM
16           the context of the 30(b)(6) which                     09:13:29AM
17           relates to data systems.           So have your       09:13:31AM
18           standing objection, that's fine.                      09:13:34AM
19                    MR. SOMVICHIAN:        Sure.                 09:13:36AM
20




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11                    MR. SOMVICHIAN:        Objection.            09:14:29AM
12
13                    MR. SOMVICHIAN:        I object to           09:14:31AM
14           form and beyond the scope of this                     09:14:32AM
15           topic.                                                09:14:33AM
16




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7                     MR. SOMVICHIAN:        Same                  09:16:58AM
8            objections.                                           09:16:59AM
9            A.




17           A.       Not to my knowledge.                         09:17:29AM
18           Q.       Why not?                                     09:17:31AM
19           A.       Because it wasn't required.                  09:17:32AM
20           Q.       By not required, where do you                09:17:42AM
21    get that information from?                                   09:17:44AM
22           A.       Line 8, page 4, the request is               09:17:52AM
23    identify the total number of RTB bid                         09:18:03AM
24    requests associated with each named                          09:18:04AM
25    plaintiff between March 26th, 2016 and                       09:18:06AM

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1            A.       Like other information that                  11:01:44AM
2     comes in on an ad request that we store in                   11:01:46AM
3     our ads logs for display, it is stored in                    11:01:49AM
4     logs like the                log.                            11:01:53AM
5            Q.       And does that account for all                11:01:56AM
6     of the device properties shared in RTB?                      11:01:59AM
7                     MR. SOMVICHIAN:        Objection,            11:02:07AM
8            vague and ambiguous.                                  11:02:08AM
9            A.       That is a question I hadn't                  11:02:10AM
10    considered and formulated that way before.                   11:02:13AM
11           Q.       Let me ask you specifics.                    11:02:16AM
12           A.       No, hold on, I was going to go               11:02:18AM
13    through and like figure that out.                            11:02:20AM
14           Q.       Okay, go ahead.                              11:02:23AM
15                    MR. SOMVICHIAN:        Are you asking        11:02:31AM
16           a different question?                                 11:02:31AM
17                    THE WITNESS:        No, I'm still            11:02:32AM
18           responding to his question.                           11:02:33AM
19           A.       There are a couple of cases                  11:02:34AM
20    where the RTB protocol requires a                            11:02:36AM
21    transformation of data, because the                          11:02:38AM
22    granularity of information can be different                  11:02:40AM
23    than what we saw internally.             So there            11:02:41AM
24    could be some transformations unless it's                    11:02:44AM
25    not byte equivalent information that's                       11:02:48AM

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1      shared, but


                                                                     11:02:57AM
4            Q.       What do you mean by a logical                  11:02:59AM
5      super set?                                                    11:03:01AM
6            A.       Do you know what the definition                11:03:02AM
7      of a super set is?                                            11:03:04AM
8            Q.       Share.     Please share.                       11:03:06AM
9            A.       A super set would be all of the                11:03:08AM
10     items, and there may be additional                            11:03:10AM
11     information.      A subset would be within the                11:03:11AM
12     super set.     And so the RTB -- the                          11:03:14AM
13     information that goes out on an RTB bid                       11:03:18AM
14     request, there are a couple of exceptions,                    11:03:20AM
15     but that is mostly true.                                      11:03:30AM
16           Q.       What are the exceptions?                       11:03:31AM
17           A.       There is a feature called                      11:03:35AM
18     secure signals that allows a publisher to                     11:03:38AM
19     provide on an ad request data that they                       11:03:44AM
20     then say take this information I'm giving                     11:03:49AM
21     you and send it to buyers that I choose.                      11:03:52AM
22     And so when a publisher has said here's                       11:03:58AM
23     information that I want you to share with                     11:04:01AM
24     this buyer, we will collect that                              11:04:02AM
25     information and we don't log it anywhere in                   11:04:06AM

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1                     MR. SOMVICHIAN:         Objection,                02:32:50PM
2            assumes facts.                                             02:32:52PM
3            A.       I suspect it means that the                       02:32:52PM
4                 had a GAIA cookie, the                                02:32:54PM
5      present on the ad request.                                       02:33:04PM
6            Q.       There are other fields that                       02:33:05PM
7      identify that, though, that would be in the                      02:33:07PM
8                        whether the --                                 02:33:09PM
9            A.       I'm not talking -- I'm not                        02:33:12PM
10     talking about logs, I'm talking about the                        02:33:14PM
11     logic executed in               And so if there is               02:33:16PM
12     a          it's an encrypted GAIA that                    can    02:33:22PM
13     see and say oh, this is a GAIA ID.                               02:33:27PM
14           Q.       And would that pass down                          02:33:32PM
15     through -- the encrypted version pass down                       02:33:34PM
16     through a                              to identify               02:33:37PM
17                                   as being associated                02:33:39PM
18     with a Google account holder?                                    02:33:41PM
19                    MR. SOMVICHIAN:         Objection,                02:33:44PM
20           vague, ambiguous.                                          02:33:44PM
21           A.       That was a mouthful.           I'm not            02:33:46PM
22     familiar with how the logic for this field                       02:33:52PM
23     is populated, but in               if a                          02:33:53PM
24     determination is made -- if we have a valid                      02:33:57PM
25     GAIA ID and we are processing it as a                            02:33:59PM

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1      signed-out ad request, that GAIA ID will be                   02:34:01PM
2      encrypted and available in the                                02:34:05PM
3            in an encrypted form.                                   02:34:09PM
4            Q.       I want to go back to topic 9 in                02:34:12PM
5      Interrogatory No. 13.                                         02:34:16PM
6            A.       Document 1 or 2?                               02:34:24PM
7            Q.       Document 1 is topic 9, document                02:34:25PM
8      2 is Interrogatory No. 13.            I'm going to            02:34:28PM
9      ask a question about Interrogatory No. 13.                    02:34:36PM
10                    If -- sorry, are you ready?                    02:34:40PM
11           A.       Uh-huh.                                        02:34:43PM
12           Q.       If a named plaintiff was signed                02:34:44PM
13     out 50 percent of the time that they were                     02:34:46PM
14     using the internet or their phone and had                     02:34:49PM
15     no user controls enabled, would ad queries                    02:34:51PM
16     and bid requests generated as a result of                     02:34:57PM
17     their activity be reflected in the                            02:34:59PM
18     logs that Google searched to respond to                       02:35:04PM
19     Interrogatory No. 13?                                         02:35:06PM
20                    MR. SOMVICHIAN:         Objection,             02:35:10PM
21           vague, ambiguous, incomplete                            02:35:11PM
22           hypothetical.                                           02:35:14PM
23           A.       No, I think we only looked in                  02:35:22PM
24     the                                                           02:35:26PM
25           Q.       I'm sorry, I didn't hear you.                  02:35:27PM

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1      You only looked in the                                        02:35:30PM
2            A.       Yeah, for the number of                        02:35:31PM
3      call-outs when the user was signed in.                        02:35:34PM
4            Q.       Okay.      Only looked in the                  02:35:36PM
5                                                                    02:35:39PM
6            A.       We also are unable to figure                   02:35:43PM
7      out if you're using another device that                       02:35:45PM
8      isn't yours or you've signed out and you                      02:35:47PM
9      are in incognito mode, there are a lot of                     02:35:50PM
10     cases where you would end up with activity                    02:35:53PM
11     in the           that we couldn't associate                   02:35:56PM
12     with an account.                                              02:35:57PM
13           Q.       And there are activities in the                02:35:59PM
14              that could be associated with a                      02:35:59PM
15     Google account, correct?                                      02:36:01PM
16           A.       Yes, it is possible.                           02:36:02PM
17           Q.       Through the                                    02:36:03PM
18                                                                   02:36:04PM
19                    MR. SOMVICHIAN:         I object to            02:36:06PM
20           form.                                                   02:36:07PM
21           A.       Through the fact that we have                  02:36:07PM
22     encrypted GAIA when it is present stored in                   02:36:09PM
23     the                                                           02:36:13PM
24           Q.       And through the                                02:36:14PM
25                            to identify the underlying             02:36:15PM

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1      Biscotti present in a GAIA keyed log,                          02:36:18PM
2      correct?                                                       02:36:22PM
3              A.       Which is what's covered in                    02:36:23PM
4      Interrogatory No. 13.                                          02:36:27PM
5              Q.       So that's what I'm confused                   02:36:28PM
6      about.       You only looked to the                  for       02:36:30PM
7      the number of instances, but if you had the                    02:36:34PM
8                                        and identified the           02:36:36PM
9      underlying Biscotti, why didn't Google then                    02:36:41PM
10     take the next step of searching the                            02:36:45PM
11     Biscotti keyed logs to see how many RTB bid                    02:36:48PM
12     requests were in the Biscotti keyed logs                       02:36:52PM
13     for that Biscotti?                                             02:36:55PM
14                      MR. SOMVICHIAN:        Objection,             02:36:59PM
15             asked and answered, lacks foundation.                  02:37:00PM
16             A.       We made a determination that                  02:37:01PM
17     the question had to do with looking up data                    02:37:08PM
18     from the               to infer how many RTB bid               02:37:10PM
19     requests were made, so that's what was                         02:37:15PM
20     done.                                                          02:37:16PM
21             Q.       Has Google preserved the                      02:37:17PM
22                                         for all U.S.               02:37:19PM
23     users during the pendency of this case?                        02:37:22PM
24                      MR. SOMVICHIAN:        I object to            02:37:25PM
25             form, lacks foundation, is beyond the                  02:37:26PM

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1            scope, also asked and answered.                         02:37:33PM
2            A.       I believe the answer is no, but                02:37:34PM
3      the answer is right here, and I don't know                    02:37:45PM
4      if I can tell you what's blacked out here.                    02:37:47PM
5            Q.       You can tell us.          You can tell         02:37:51PM
6      us.   You're here representing -- you're                      02:37:53PM
7      here testifying on behalf of Google.                If        02:37:57PM
8      you know the answer to the question that's                    02:37:58PM
9      asked there is nothing precluding you from                    02:38:01PM
10     answering the question.                                       02:38:03PM
11           A.       I totally hear you and --                      02:38:04PM
12                    MR. SOMVICHIAN:         We're not              02:38:06PM
13           getting into compliance with orders in                  02:38:08PM
14           a different matter, so no.                              02:38:10PM
15                    MR. BARNES:       We are getting               02:38:11PM
16           into whether -- we'll move on.               I think 02:38:12PM
17           this is a good time for a break if you                  02:38:24PM
18           guys are good with that.                                02:38:25PM
19                    MR. SOMVICHIAN:         Yes.                   02:38:28PM
20                    THE VIDEOGRAPHER:          Off the             02:38:30PM
21           record at 14:38, marking the end of                     02:38:30PM
22           media unit number three.                                02:38:33PM
23                    (Recess taken.)                                02:38:35PM
24                    THE VIDEOGRAPHER:          On the              02:56:00PM
25           record at 14:56.        This is media unit              02:56:01PM

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1      already, because I told you how it's                          03:07:16PM
2      derived.      We have IP address to infer                     03:07:18PM
3      location associated with an ad request.                       03:07:21PM
4            Q.        Okay.     Can Google distinguish              03:07:24PM
5      between Google account holders and                            03:07:26PM
6      non-Google account holders?                                   03:07:30PM
7            A.        In the finance dataset, no.                   03:07:31PM
8            Q.        Can it do so in the underlying                03:07:33PM
9                                           and                      03:07:36PM
10                                   log?                            03:07:39PM
11                     MR. SOMVICHIAN:        Objection.             03:07:43PM
12           Q.        I'm sorry, and the Biscotti                   03:07:43PM
13     keyed equivalent.                                             03:07:46PM
14                     MR. SOMVICHIAN:        Objection to           03:07:47PM
15           form.                                                   03:07:48PM
16           A.        If the data has not been purged               03:07:48PM
17     and if the decryption key has not been                        03:07:50PM
18     purged, if you are talking about inferring                    03:07:53PM
19     from the Biscotti logs, those would be the                    03:07:55PM
20     two requirements.         So there is a limited               03:07:58PM
21     look-back window for how far back you would                   03:08:00PM
22     be able to calculate this.                                    03:08:03PM
23           Q.        So what's the look-back window                03:08:04PM
24     that you can calculate it for?                                03:08:10PM
25           A.        For ad requests for signed-in                 03:08:13PM

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1      users that are recorded in the                     , you      03:08:17PM
2      have the GAIA ID, so it is theoretically                      03:08:22PM
3      possible to look up the stated residence                      03:08:27PM
4      associated with that GAIA user.              Personal         03:08:30PM
5      data and those GAIA IDs are retained in the                   03:08:35PM
6                 logs for                .                          03:08:38PM
7                     For the Biscotti log where we                  03:08:42PM
8      have an encrypted GAIA, that look-back                        03:08:45PM
9      window is less, because we rotate the                         03:08:50PM
10     encryption keys, and the encryption keys I                    03:08:54PM
11     think only last for                    , which means          03:08:58PM
12     your functional look-back window of trying                    03:09:01PM
13     to go from the                              log to            03:09:03PM
14     figure out who that GAIA user is is only                      03:09:08PM
15                                                                   03:09:13PM
16           Q.       Unless otherwise preserved,                    03:09:13PM
17     correct?                                                      03:09:14PM
18           A.       I'm talking about normal                       03:09:15PM
19     operations.      You want to preserve                         03:09:17PM
20     something, all bets are off, with the                         03:09:19PM
21     limitation you still have the look-back                       03:09:22PM
22     window on the current data that's                             03:09:25PM
23     available.                                                    03:09:27PM
24           Q.       Does Google Display Ads                        03:09:28PM
25     maintain dashboards with revenue                              03:09:31PM

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